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                                                               JS-6

                  UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA



 SID EDWARD WILLIS, JR.,                   Case No. 2:21-cv-6990-DOC (SK)
                  Petitioner,
            v.                             JUDGMENT
 USP VICTORVILLE,
                  Respondent.




      Pursuant to the Order Dismissing Petition, IT IS ADJUDGED that
this action is dismissed with prejudice.




DATED: September 27, 2021
                                           DAVID O. CARTER
                                           U.S. DISTRICT JUDGE
